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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
JERRY ALLISON                                  )
                                               )          Case No. 1:16-cv-874 EGS
                               Plaintiff,      )
                                               )
               v.                              )
                                               )
WASHINGTON METROPOLITAN                        )
AREA TRANSIT AUTHORITY                         )
                                               )
                               Defendant.      )
                                               )

                    CONSENT MOTION FOR ENLARGEMENT OF TIME
                            TO CONCLUDE DISCOVERY

       On consent of the Defendant, Jerry Allison (“Plaintiff”), by and through counsel, and

pursuant to Fed. R. Civ. P. 6(b)(1)(A), respectfully moves this honorable Court for an

enlargement of time to conclude discovery, from December 15, 2016 to February 15, 2017. In

support of this motion, Plaintiff states the following:

       1. The Parties have served and responded to discovery requests and have been working

           together to schedule depositions.

       2. Defendant intends to take depositions of Plaintiff and at least one other witness.

       3. Plaintiff intends to take depositions of two or three management witnesses.

       4. Discovery is presently set to close on December 15, 2016.

       5. The 60-day extension of time is sought for good cause due to the foreseeable

           difficulty scheduling witnesses for depositions around both counsels’ schedules

           during the holiday season.

       6. Defendant consents to the relief requested herein and neither party would be

           prejudiced by this extension.
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       Based on the foregoing, Plaintiff respectfully requests that the Consent Motion for

Enlargement of Time to Conclude Discovery be granted with the discovery deadline on February

15, 2017.

                                                           RESPECTFULLY SUBMITTED,
                                                           Alan Lescht & Associates, P.C.
                                                           By:__/s/___________________
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                                                           rani.rolston@leschtlaw.com
                                                           Attorney for Plaintiff


                                 CERTIFICATE OF SERVICE

       I hereby certify that I served a copy of the foregoing, Consent Motion for Enlargement of
Time to Conclude Discovery, this 7th day of December, 2016, via ECF on:

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                                             __/s/________________________
                                             Rani Rolston
